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             IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION



UNITED STATES OF AMERICA

v.                                                       CASES NO. 4:09cr73-RH/CAS
                                                                   4:11cv334-RH/CAS

JUNIOR DOGUER,

                  Defendant.

________________________________/


                          ORDER DENYING THE § 2255 MOTION


         The defendant Junior Doguer has moved under 28 U.S.C. § 2255 for relief

from his judgment of conviction. The motion is before the court on the magistrate

judge’s report and recommendation, ECF No. 343. No objections have been filed.

This order accepts the report and recommendation, adopts it as the court’s opinion,

and denies the § 2255 motion, with this additional note.

         Mr. Doguer has raised a total of six claims. He raised four in the § 2255

motion has originally filed, sought leave to add a fifth, then abandoned the fourth

and fifth claims but attempted to add a sixth. The report and recommendation

correctly concludes that the first three claims are unfounded on the merits. As is

proper, the report and recommendation does not address the merits of the

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abandoned fourth and fifth claims. And the report and recommendation correctly

concludes that the sixth claim is barred by the one-year statute of limitations.

         The sixth claim is also unfounded on the merits. Mr. Doguer’s offenses

included fraudulently obtained credit or debit cards—referred to in the governing

statute and in the Guidelines Manual as “access devices.” The guideline range was

calculated under Guidelines Manual § 2B1.1. That guideline calls for an increase

in the offense level based on the greater of actual or intended loss.

         Mr. Doguer’s offense level was increased on this basis. For a card that

produced an actual loss greater than $500, the actual loss was used in calculating

the guideline range. But for a card that produced a smaller loss or no loss at all, an

amount of $500 was used.

         Mr. Doguer says this was wrong and that his attorney rendered ineffective

assistance by allowing this to happen. But this treatment of the loss was correct.

The relevant application note makes this clear: “In a case involving any counterfeit

access device or unauthorized access device, loss includes any unauthorized

charges made with the counterfeit access device or authorized access device and

shall be not less than $500 per access device.” U.S. Sentencing Guidelines Manual

§ 2B1.1, cmt. n.3(F) (2009).

         The guideline’s use of $500 as the minimum intended loss makes sense.

Surely it happens rarely if ever that a defendant fraudulently creates or obtains a



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credit or debit card but does not intend to obtain at least $500 in value from it, if

possible.

         In sum, Mr. Doguer’s untimely sixth claim, like his first three claims and his

abandoned fourth and fifth claims, is unfounded on the merits.

         A defendant may appeal the denial of a § 2255 motion only if the district

court or court of appeals issues a certificate of appealability. Under 28 U.S.C.

§ 2253(c)(2), a certificate of appealability may issue “only if the applicant has

made a substantial showing of the denial of a constitutional right.” Miller-El v.

Cockrell, 537 U.S. 322, 335-38 (2003); Slack v. McDaniel, 529 U.S. 473, 483-84

(2000); Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983); see also Williams v.

Taylor, 529 U.S. 362, 402-13 (2000) (setting out the standards applicable to a

§ 2254 petition on the merits). As the Court said in Slack:

         To obtain a COA under § 2253(c), a habeas prisoner must make a
         substantial showing of the denial of a constitutional right, a
         demonstration that, under Barefoot, includes showing that reasonable
         jurists could debate whether (or, for that matter, agree that) the
         petition should have been resolved in a different manner or that the
         issues presented were “adequate to deserve encouragement to proceed
         further.”

Slack, 529 U.S. at 483-84 (quoting Barefoot, 463 U.S. at 893 n.4). Further, in

order to obtain a certificate of appealability when dismissal is based on procedural

grounds, a petitioner must show, “at least, that jurists of reason would find it

debatable whether the petition states a valid claim of the denial of a constitutional



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right and that jurists of reason would find it debatable whether the district court

was correct in its procedural ruling.” Slack, 529 U.S. at 484.

         Mr. Doguer has not made the required showing. This order thus denies a

certificate of appealability. Because Mr. Doguer has not obtained—and is not

entitled to—a certificate of appealability, any appeal by Mr. Doguer will not be

taken in good faith. I certify under Federal Rule of Appellate Procedure 24(a) that

any appeal will not be taken in good faith and that Mr. Doguer is not otherwise

entitled to proceed in forma pauperis on appeal. Accordingly,

         IT IS ORDERED:

         1. The report and recommendation is ACCEPTED.

         2. The clerk must enter a judgment stating, “The defendant Junior Doguer’s

motion for relief under 28 U.S.C. § 2255 is DENIED.”

         3. A certificate of appealability is DENIED.

         4. Leave to proceed on appeal in forma pauperis is DENIED.

         SO ORDERED on May 17, 2014.

                                                         s/Robert L. Hinkle
                                                         United States District Judge




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